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                                          THE CITY OF NEW YORK
MURIEL GOODE-TRUFANT
                                         LAW DEPARTMENT                                   JONATHAN HUTCHINSON
Corporation Counsel                           100 CHURCH STREET                                        Senior Counsel
                                             NEW YORK, N.Y. 10007                                Tel.: (212) 356-2410
                                                                                                 Fax: (212) 356-3509
                                                                                               jhutchin@law.nyc.gov



                                                                    March 13, 2025


     VIA ECF
     Honorable Andrew L. Carter
     United States District Judge
     United States District Court
     Southern District of New York
     40 Foley Square
     New York, NY 10007


                    Re:     Maila Beach v. City of New York, et al.,
                            21-CV-6737 (ALC)

     Your Honor:


                    I am a Senior Counsel in the Office of Muriel Goode-Trufant, Corporation Counsel
     of the City of New York, and the attorney representing defendants the City of New York and
     Deputy Chief Gerard Dowling (collectively, “defendants”) in the above-referenced matter. The
     undersigned writes to respectfully request: (1) a thirty (30) day enlargement of time for defendants
     City and Dowling to respond to the Second Amended Complaint, from March 17, 2025 until April
     16, 2025, and (2) that the Court sua sponte grant defendants Officer Eric Liang and Officer Carlos
     Garcia a corresponding extension of time to respond to the Second Amended Complaint. This is
     the defendants’ second such request. Plaintiff’s counsel, Tahanie Aboushi, consents to this request.

                    By way of relevant background, on August 11, 2021, plaintiff filed his initial
     Complaint naming the City of New York, the New York City Police Department, Gerard Dowling,
     and John Does 1-10 as defendants. See ECF No. 3. Plaintiff requested that summonses be issued
     for defendants City of New York, the New York City Police Department, Gerard Dowling and
     summonses were issued for defendants City of New York, the New York City Police Department,
     and Gerard Dowling. See ECF Nos. 6-7. On July 21, 2022, plaintiff filed a First Amended
     Complaint naming City of New York, Gerard Dowling, Roberto Dominguez, and Andy Collado
     as defendants. See ECF 35, Exhibit 1. Upon information and belief, and upon review of the docket,
     no summonses were requested or issued for either Roberto Dominguez or Andy Collado. Further,
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upon review of the docket, no affidavits of service were filed indicating service on defendants
Roberto Dominguez or Andy Collado.

                Upon review of documents purporting to be the documents served on Roberto
Dominguez and Andy Collado and provided to the undersigned by plaintiff’s counsel, Tahanie
Aboushi, it appears that any purported service on Roberto Dominguez and Andy Collado was
improper as the summonses attached do not comply with Rule 4 of the Federal Rules of Civil
Procedure. The summonses attached appear to have been issued approximately eleven months
prior to Roberto Dominguez and Andy Collado being named as defendants in this lawsuit, and are
not directed to either of the defendants. Accordingly, upon information and belief, service has not
been properly effectuated on defendants Roberto Dominguez and Andy Collado.

                On November 29, 2024, plaintiff filed a Second Amended Complaint alleging, inter
alia, excessive force, unlawful search and seizure, false arrest, failure to intervene, assault and
battery, and a claim for municipal liability, as a well as state law claims of intentional and negligent
infliction of emotional distress. Plaintiff names the City of New York, Gerard Dowling, Roberto
Dominguez, Andy Collado, Eric Liang, Carlos Garcia, and John Does Nos. 1-4 as defendants. See
ECF 72. On February 11, 2025, Senior Counsel Jenny Weng filed a letter motion for an
enlargement of time to respond to plaintiff’s Second Amended complaint on consent, citing the
assigned Assistant Corporation Counsel’s unexpected departure from the office on medical leave.
See ECF 87. The Court granted the defendants’ request and extended the deadline for defendants
City, Dowling, Liang, and Garcia to respond to the Second Amended Complaint to March 17,
2025. See ECF 83.

                 The reason for the instant request is the undersigned has recently been assigned to
this case and, additionally, was scheduled to begin a trial in the matter of John Doe v. Richard Roe,
et al., 22 Civ. 2690 (PKC), in the Southern District before the Honorable P. Kevin Castel on March
17, 2025 until this afternoon. Due to the recency of the transfer and the imperatives of preparing
for trial, additional time is needed for the undersigned to familiarize myself with the record,
conduct the investigation necessary to properly respond to the Second Amended Complaint, and
to resolve representation with defendants Liang and Garcia.

               As this Office has not undertaken the representation of defendants Liang and
Garcia, the instant request is not made on their behalf. Nevertheless, in the interest of judicial
economy, the City respectfully requests that the Court sua sponte afford defendants Liang and
Garcia a corresponding extension of time to respond to the Second Amended Complaint.
               For the foregoing reasons, defendants City and Dowling respectfully request: (1) a
thirty (30) day enlargement of time for defendants City and Dowling to respond to the Second
Amended Complaint, from March 17, 2025 until April 16, 2025, and (2) that the Court sua sponte
grant defendants Liang and Garcia a corresponding extension of time to respond to the Second
Amended Complaint.




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             Thank you for your consideration herein.

                                                          Respectfully submitted,

                                                          /s/Jonathan Hutchinson
                                                          Jonathan Hutchinson
                                                          Senior Counsel
                                                          Special Federal Litigation Division

cc:   VIA ECF
      Tahanie Aboushi, Esq.
      Attorney for Plaintiff




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